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 6                               UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 8
 9    ADAM PETERSEN, an individual,                   Case No. C20-853RSM-MLP
10
                   Plaintiff,                         ORDER OF DISMISSAL
11
                      v.
12
13    USAA CASUALTY INSURANCE
      COMPANY, a foreign insurer,
14
                  Defendant.
15
16          This matter comes before the Court on the parties’ Stipulation seeking an order of

17   dismissal. Dkt. #13. The parties stipulate pursuant to Rule 41(a)(1)(A) that this matter be
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     dismissed with prejudice and with each party bearing their own costs and attorneys’ fees.
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     Pursuant to that stipulation, the Court hereby ORDERS that matter is DISMISSED with
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     prejudice. This case is CLOSED.
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22
23          DATED this 16th day of September, 2020.
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27
                                               RICARDO S. MARTINEZ
28                                             CHIEF UNITED STATES DISTRICT JUDGE



     ORDER OF DISMISSAL - 1
